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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ANDREW R. PERRONG                                   CIVIL ACTION

                         v.                         N0.17-1512

ELITE CHIMNEY SOLUTIONS, INC,
et al

                                               ORDER

          AND NOW, this 22nd day of May 2017, it having been reported the above captioned

    matter is settled, it is ORDERED:

          1.       This action is DISMISSED under agreement of the parties and Local Rule of

Civil Procedure 41.l(b) 1 ;

          2.       Our May 25, 2017 hearing is cancelled; and,

          3.      The Clerk of Court shall mark this matter CLOSED.




1
    Local Rule 41.l(b) provides:

          [a]ny such order of dismissal may be vacated, modified, or stricken from the
          record, for cause shown, upon the application of any party served within ninety
          (90) days of the entry of such order of dismissal, provided the application of the
          ninety-day time limitation is consistent with Federal Rule of Civil Procedure
          60(c).
